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                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
______________________________________
                                               )
THE MEYER GROUP, LTD.,                         )
                                               )
                     Plaintiffs,               )
                                               ) Civil Action No. 19-cv-1945-ABJ
                     v.                        )
                                               )
JAMES M. RAYBORN, et al.,                      )
                                               )
                  Defendants.                  )
______________________________________


                      NOTICE OF WITHDRAWAL AS COUNSEL

       The Clerk of the Court will withdraw the appearance of Jeremy Greenberg as counsel for

Defendant James Rayborn in the above captioned case. Denise M. Clark, who has previously

appeared, will remain counsel for Defendant James Rayborn.



Dated: December 15, 2021

                                                  Respectfully submitted,

                                                  /s/ Jeremy Greenberg
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